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                                                                                                                                                  DOC #:
                                                                                                                                                  DATE FILED: 1/21/2025


                                                                          January 15, 2024


By ECF and Facsimile

The Honorable Mary Kay Vyskocil
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007-1312

        Re:            Pania et al. v. Crunch Holdings, LLC, No. 1:24-cv-7127-MKV
                       Unopposed Letter Motion Seeking Leave to file Amended Motion to Compel and
                       for Entry of Briefing Schedule

Dear Judge Vyskocil:

        We represent Defendants Crunch Holdings, LLC, Crunch Franchising, LLC, and Crunch,
LLC (collectively, “Defendants”) in the above-referenced action. The parties have met and
conferred regarding Defendants’ Motion to Compel Arbitration and Stay Proceedings and
accompanying filings, ECF Nos. 26-28 (collectively, the “Motion”), and Plaintiffs’ request to take
limited discovery relating to certain contract formation issues relevant to the Motion. In the course
of the parties’ meet and confer efforts, Defendants determined that the form of membership
agreement attached to and referenced in the Motion was inadvertently a form used in 2024, not
2023, when Plaintiffs signed up for their Crunch membership. Defendants have produced the 2023
forms of the membership agreement to Plaintiffs, and the parties have met and conferred regarding
the filing of an amended Motion, and the discovery sought by Plaintiffs. The parties have
negotiated and agreed on a schedule for the discovery requested by Plaintiffs and the briefing of
the Motion.

        The parties jointly request that the Court enter the following schedule for discovery and
briefing relating to the Motion:

                                    Event                                                                                           Deadline
 Defendants file                    amended Motion and                                                                             January 17
 memoranda of                       law (with supporting
 declarations)

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 Plaintiffs serve written        discovery     (as                     January 24
 negotiated by the parties)
 Defendants respond to written discovery (as                           February 5
 negotiated by the parties)
 Parties to resolve open discovery issues and                        February 6 - 28
 complete one deposition (via Zoom)
 Plaintiffs’ Opposition to Defendants’ Motion                           March 14
 Defendants’ Reply in support of Motion                                 March 28

        The parties respectfully submit that there is good cause for the entry of the proposed
schedule and respectfully note that, in Plaintiffs’ prior submission to the Court in December,
Plaintiffs had contemplated the possibility that they would seek limited discovery relating to
certain contract formation issues in the Motion. The parties respectfully submit that it would be in
the interests of judicial economy and preserve the Court and parties’ resources to (1) allow
Defendants to file their amended Motion, so the 2023 version of the membership agreement that
Defendants contend Plaintiff agreed to is presented with the Motion, and (2) allow the parties to
complete the limited discovery they have negotiated before their briefing is completed, so that any
factual disputes relating to the Motion are presented to the Court in a single set of briefing.

         Thank you for the Court’s attention to this matter.


                                               Respectfully submitted,

                                               /s/ Ian M. Ross
                                               Ian M. Ross

                                               Counsel for Crunch Holdings, LLC, Crunch
                                               Franchising, LLC, and Crunch, LLC


cc:      Counsel of record (via ECF)


 The Parties' request to amend the motion to compel briefing schedule as detailed above is
 HEREBY GRANTED. The motion at ECF No. 26 as well as the letter motion at ECF No 31
 are each DENIED as moot.
 SO ORDERED.


                                        1/21/2025
